       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 1 of 19




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                          PITTSBURGH DIVISION




Kenneth Goldsmith,                                        Case No. 2:16-cv-01362-MRH
                 Plaintiff, in propria persona,


                     v.


FREDERICK BAER GOLDSMITH, ESQ.,
                           Individually,
                and under color of state law,


SERGEANT JAMES A. TOGYER,
                                      Individually,
                          and in his Official Capacity,

CITY OF PITTSBURGH, DEPARTMENT OF PUBLIC SAFETY,
                          As Municipal Defendant,

NORMA PETERS,

                 Defendants.

______________________________________________________________________


 PLAINTIFF PRO SE’S EXIGENT MOTION FOR AN ADDITIONAL ENLARGEMENT
          OF TIME TO FILE AND TO SERVE AMENDED COMPLAINT,
                      PURSUANT TO F.R.C.P. 6(b)(1).
        Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 2 of 19




AND NOW, comes Movant – Petitioner - Plaintiff, in propria persona, and in support of

this Motion for an Enlargement of Time to file and to serve an Amended Complaint,

pursuant to this Court’s 6/26/17 Order, herein; avers the following:



On 5/26/17, this Honorable Court Ordered this pro se Plaintiff to file an Amended

Complaint by 6/26/17, involving four (4) defendant parties - after significantly

constricting the contours his Complaint, and under dispositive consequence of

termination and dismissal of his U.S.C. 42 § 1983 Civil Rights Complaint, with fatal

permanent prejudice should this pro se Plaintiff not meticulously adhere to heightened

pleading requirements, as set forth by Ashcroft v. Iqbal and in Bell Atlantic Corp. v.

Twombly.



Plaintiff pro per hereby respectfully requests an additional 60-days’ time within which to

file and revise his case-critical Amended Complaint, for the following valid reasons:



On 5/27/17, essentially contemporaneous with – and, again in apparent retaliation for

this Honorable Court’s grant of Plaintiff’s 5/26/17 dispositive Order, Defendant Attorney

Frederick Baer Goldsmith, Esq., as is his standing – and illegal - litigation tactic: signed,

verified and interposed yet another second [thus far] outrageously contumacious

collateral State Court attack on this Plaintiff - and on Plaintiff’s Mother – the latter who,

pertinently and pointedly, is putatively prospectively, also a case-critical essential fact
        Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 3 of 19




witness to Defendant Attorney Frederick Baer Goldsmith, Esq.’s conduct in this matter

now instantly at bar. Specifically, pursuant to this Court’s direction during the denied

4/7/17 Telephonic Conference, suggesting the possible filing of an action in the

Orphans’ Court Division of the Pennsylvania Fifth Judicial Division: Defendant Attorney

Frederick Baer Goldsmith, Esq. has now, in fact, pressed an Emergency Incompetency

and Guardianship Proceeding against his own Mother that very Orphans’ Court

Division.



Specifically, and with particularity, Defendant Attorney Frederick Baer Goldsmith, Esq.

has pressed against his own Mother, a viciously despicable and devoid of any merit

action captioned as “Orphans’ Court Division Case No. 02-17-03276”, which is a

Petition for the Appointment of an Emergency Guardian for Lillian Hyman Goldsmith,

“an alleged incapacitated person”. Defendant Attorney Frederick Baer Goldsmith, Esq.

knows intimately and irrefutably that in no way is his Mother Lillian Hyman Goldsmith

“an incapacitated person”. His purpose in pressing such a putrid proceeding, consistent

with his practice, includes punishing her for her writing which was included in the 4/7/17

Emergency Petition; which writing / Exhibit, in his Mother’s own handwriting, Defendant

Attorney Frederick Baer Goldsmith, Esq., without benefit of the record, testified under

Oath directly to this Court: was a “forgery”. Plaintiff ipse is not only named in Defendant

Attorney Frederick Baer Goldsmith, Esq.’s Emergency Petition as a “Party of Interest”;

but is facially, factually – and farcically essentially alleged, ad seriatim and ad nauseum

to also be a primary reason for Petitioner / Defendant Attorney Frederick Baer
        Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 4 of 19




Goldsmith, Esq. demanding that the Administrative Judge of the Orphan’s Court

Division of the Allegheny County Court of Common Pleas declare his [and Plaintiff’s]

Mother as an incompetent - and therefore, to be a Ward of the State [Commonwealth].

Moreover, Defendant Attorney Frederick Baer Goldsmith, Esq. is demanding that he,

himself, be anointed – and absolutely against her will – as her Plenary Guardian to

prevent any pesky testimonial participation from her in this matter now before this Court,

and also as palpable retaliation against his own Mother for her handwritten document

provided as exhibit to this Court.



Defendant Attorney Frederick Baer Goldsmith, Esq.’s ‘s putrid and poisonous

“Emergency Guardianship” proceedings have, to date, incurred [preparation for] three

exhaustive separate formal Orphans’ Court Hearings, two depositions, and extensive

time-consuming consultations with this instant Plaintiff’s Court-appointed Counsel – as a

party-of-interest in that Court’s proceedings. Petitioner has furthermore been advised

that apparently there are initially upcoming Hearings just scheduled for 7/5/2017 and

7/8/17. Additionally, there is to be a scheduled deposition of a Court-ordered

independent medical examination of Plaintiff’s Mother to be attended by this Plaintiff.

As a material party-in-interest [Son – in opposition] there, Plaintiff here, has not yet had

opportunity to testify, or to put forward rebuttal witnesses or expert testimony in

opposition to Defendant Attorney Frederick Baer Goldsmith, Esq.’s evil, hateful and

satanic inquisition and attack against his own Mother.
        Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 5 of 19




Within the poisonous petition in the State Court, Defendant Attorney Frederick Baer

Goldsmith, Esq. gratuitously and perfectly correctly, prospectively posits that this

Plaintiff, [“party in interest”, there] is expected to “vigorously oppose” Defendant

Attorney Frederick Baer Goldsmith, Esq.’s disgustingly deceitful and knowingly false

attack on his own Mother, and to attempt to have her declared as an “incompetent”. As

that Petition states: “Based on the total inability of Lillian Hyman Goldsmith to receive

and evaluate information effectively, and to make or communicate decisions, a

Permanent Plenary Guardian of her Person and Estate is required”; and yet furthermore

his Mother is to be “adjudged a totally incapacitated person as to her person and estate

and that Frederick Baer Goldsmith and Malcolm Goldsmith II be appointed the

Permanent Plenary Co-Guardians of the Person and of the Estate of LILLIAN HYMAN

GOLDSMITH, an incapacitated person.”



Referencing Plaintiff’s Mother’s True and Correct Writing attached as Exhibit to this

Plaintiff’s Emergency Petition before this Court, Defendant Attorney Frederick Baer

Goldsmith, Esq. further pleads in his Verified Petition in the State Court, that: due to

Mother/Witness’ “weakened memory and judgment”, as specifically pertains, with

particularity, to Plaintiff, she somehow, must therefore now be “adjudged a totally

incapacitated person as to her person and estate and that Frederick Baer Goldsmith …

be appointed the Permanent Plenary Co-Guardians of the Person” of his Mother – to

prevent her, due to her falsely alleged “total incapacitation”, from any further inculpatory
         Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 6 of 19




“participation” as a witness in this Federal Civil Rights Action now instantly before this

Honorable and Wise District Court.



Thereby, thus far, Defendant Attorney Frederick Baer Goldsmith, Esq., an Officer of this

very Court, has stolen and purposely and premeditatedly spoliated case-critical

evidentiary documentation, business records including indicia of ownership of trade

property, and extensive proprietary legal research and preliminary drafts of this instant

Complaint now before the Court; and is now clearly and egregiously engaging in an

illegal overt act of knowing and willful witness tampering – including that of Defendant

Norma Peters – all in an illegal continuing course of conduct by Defendant Attorney

Frederick Baer Goldsmith, Esq. to retaliate, subvert and obstruct the ability of this pro se

Plaintiff to proceed with presentment of his meritorious Civil Rights Action before this

Court.



Among the scurrilous detritus presented during the State [Orphans’] Court Hearings

instituted by Defendant Attorney Frederick Baer Goldsmith, Esq., and his Co-

conspirators and Co-Petitioners Malcolm “Smitty” Goldsmith, and Mildred Baer

Goldsmith palley; testimony was adduced from a Municipal Defendant Pittsburgh

Bureau of Police Senior Command Supervisor and Zone Commander.
        Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 7 of 19




Defendant Attorney Frederick Baer Goldsmith, Esq., acting under color of state law, in

this instant Civil Rights action – and as Co-Petitioner in the state court proceedings;

upon cross-examination by this pro se Plaintiff, material testimony was adduced

pertaining to his intimate involvement and personal presence at yet another false arrest

and false imprisonment by the Municipal Defendant City of Pittsburgh Bureau of Police,

occurring on Friday 1/13/17.



Defendant Attorney Frederick Baer Goldsmith, Esq., once again acting under color of

state law, was also again personally present and intimately involved during an additional

recent false arrest, false imprisonment and malicious prosecution, occurring on 3/21/17,

Plaintiff’s Mother’s 65th Wedding Anniversary – on which important occasion Defendant

Attorney Frederick Baer Goldsmith, Esq., parenthetically, never even bothered to

acknowledge to his own Mother.



At the referenced Orphans’ Court Hearing on 6/8/17, upon Cross-examination by

Plaintiff of Defendant Attorney Frederick Baer Goldsmith, Esq., it is firmly believed that

Defendant Attorney Frederick Baer Goldsmith, Esq.– an Officer of that Court – and of

this Honorable Court: materially, intentionally and knowingly perjured himself – thereby

a clear and present overt act of crimen falsi pertaining to false statements.



Plaintiff – Petitioner prays for additional time to also attempt to obtain a transcript of all

those proceedings – and of the final Hearing, said record not having yet been
        Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 8 of 19




transcribed – despite prior request to Counsel. Upon inquiry and belief, and thereby it is

averred, the Court Reporter may be taking a brief Summer Sojourn, thereby further

delaying production of the Transcript at instant issue, containing Defendant Attorney

Frederick Baer Goldsmith, Esq.’s testimonial perjury – and partial additional reason for

this request for a 60-day enlargement of time for filing Plaintiff’s Amended Complaint.



Furthermore, the scandalous and scurrilous averments within the Orphans’ Court

“Emergency Petition” which the Officer of this Honorable Court “verified” by signature

under penalty of false statements, pursuant to 18 Pa. C.S.A. § 4904 – are also patently

and very knowingly, “false statements”.



Plaintiff – Petitioner has also been informed by his Court-appointed Counsel, that

Defendant Attorney Frederick Baer Goldsmith, Esq. and his Co-conspirator / Co-

Petitioner Malcolm “Smitty” Goldsmith, has apparently also been recording Plaintiff’s

confidential telephonic communications with his Mother – in frank violation of the

Pennsylvania Wiretap Act, 18 Pa. C.S.A. § 5701 et seq.; and his Right to Privacy

consistent with his Constitutional 4th Amendment guarantees - as expressly provided by

Congressional intent, and codified by Federal Statute: specifically, the Federal Wiretap

Act, the Electronic Communications Privacy Act 18 U.S.C. § 2510, et seq., and as

amended by Title I of the ECPA.
        Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 9 of 19




Defendant Attorney Frederick Baer Goldsmith, Esq.’s Mother Lillian Hyman Goldsmith

has recently and in-person at the Zone 4 Police Station, filed a Criminal Felony Report

with Municipal Defendant City of Pittsburgh Bureau of Police, against Defendant

Attorney Frederick Baer Goldsmith, Esq. Defendant’s Mother has also had numerous

recent follow-up conversations with Detectives in the Investigations Bureau of the City

of Pittsburgh Police Headquarters, pertaining to Defendant Attorney Frederick Baer

Goldsmith, Esq.’s egregious criminal conduct.



Defendant’s Mother has also personally contacted and had frequent conversations with

Prosecutors in the Elder Abuse Division of the Allegheny County District Attorney’s

Office pertaining to criminal fraud, defalcation, and to financial and emotional

exploitation by Defendant Attorney Frederick Baer Goldsmith, Esq. against her - and

astonishingly, as her putative Power of Attorney.



Defendant Attorney Frederick Baer Goldsmith, Esq.’s Mother Lillian Goldsmith, has

additionally personally met and subsequently filed formal papers for initiating and

prosecuting a Private Criminal Complaint against Defendant Attorney Frederick Baer

Goldsmith, Esq.’s criminal conduct with the Allegheny County District Attorney’s Office.



Defendant Attorney Frederick Baer Goldsmith, Esq.’s Mother has also on numerous

occasions recently contacted the Office of Disciplinary Counsel of the Supreme Court of

Pennsylvania [a mere four floors below the Orphans’ Court] regarding Defendant
          Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 10 of 19




Attorney Frederick Baer Goldsmith, Esq.’s outrageously illegal conduct; said outrageous

conduct in full frontal attack not only against his Mother – but also a frank attack against

the Pennsylvania Rules of Professional Conduct [an inescapable and inevitable referral

action, respectfully, which this Honorable Court has, thus far, deferred – despite notice].



Additionally, Defendant Attorney Frederick Baer Goldsmith, Esq.’s own Mother Lillian

Goldsmith, has herself consistently, adamantly, vehemently and repeatedly repudiated

and disavowed the “Approval of Disposition” writing which Defendant Attorney Frederick

Baer Goldsmith, Esq. introduced and read into the record at the Emergency Hearing of

4/7/17.



[Without benefit of the Record] This Learned Court is also requested to take Judicial

Notice that Defendant Attorney Frederick Baer Goldsmith, Esq., under oath, attempted

to state directly to this Court, that said Exhibit attached thereto Plaintiff’s Emergency

Petition and in Defendant Attorney Frederick Baer Goldsmith, Esq.’s own Mother’s

handwriting - was a possible “forgery”.



There is absolutely no prejudice – nor even any inconvenience - whatsoever to any

defendant by grant of an additional enlargement of time to file Plaintiff pro se’s

Amended Complaint – any such prejudice and peril is suffered only by this Plaintiff

party.
       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 11 of 19




While Plaintiff, pro per has previously applied for an extension of time to file the

Amended Complaint; the collateral “Emergency Guardianship Petition” proceeding in

the State Court was not merely only an unforeseen circumstance – but said action was

premeditatedly, purposely and intendedly interposed specifically for the very reason of

obstructing this Plaintiff’s ability, and the appreciated opportunity of preparing and timely

filing his Amended Complaint. As if this pro se Plaintiff is now to be trapped in

Defendant Attorney Frederick Baer Goldsmith, Esq.’s Faustian Bargain of having to

choose between his passion to present a viable Amended Civil Rights Complaint before

this very precise, Learned and Honorable Federal District Court, on the one hand; or to

protect his Mother from the fatally predatory and destructive attack against all of her

Constitutional guarantees– including protection from cruel and unusual punishment by

Defendant Attorney Frederick Baer Goldsmith, Esq. - in the State Courts.



Plaintiff respectfully and deferentially requests this Wise District Court takes judicial

notice of Defendant Attorney Frederick Baer Goldsmith, Esq.’s maliciously wanton and

egregiously perverted vexatious intent by knowingly falsely proceeding with an

incompetency hearing against his own Mother: a necessary concomitant of such a

horrific judicial determination in the State Courts, being to necessarily – and

conveniently, impeach the competency of Defendant Attorney Frederick Baer

Goldsmith, Esq.’s Mother as a material witness in the Civil Rights Action now instantly

sub judice in this Federal District Court.
       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 12 of 19




This respectfully requested extension of time is expressly not meant in any manner for

improper delay of this proceeding; particularly as Plaintiff pro se is the Petitioner –

movant. Nor is Petitioner acting contumaciously or in bad faith.



Plaintiff pro se has previously recently notified this Court, inter alia, via pleadings and at

the Telephonic Status Conference, that he is still suffering from health issues, including

anxiety and emotional anguish, resulting from this Court’s denial of the 4/7/17

Emergency Motion to prevent the sale of the entire contents of his and his Mother’s

residence; as well as a lingering temporary illness, resulting from recovery of a severe

upper respiratory cold and influenza; which previously made it difficult to travel to and

from the library to daily monitor the docket; and to research, prepare and electronically

file any Court documents – regretfully including, pro tem, the requested Notice of

location for the ridiculously miniscule return of Plaintiff’s “inventoried” property; which

lapse this Plaintiff regrets – and to the extent possible will immediately rectify.



Moreover, as this Court is intimately well aware, Defendants Attorney Frederick Baer

Goldsmith, Esq., as well as very likely, his co-defendant, co-conspirator and co-

tortfeasor – and disclosed/authorized agent, and legal client, Norma Peters – are, still,

presently in (adverse) possession of Plaintiff’s property: pertinently, and only inter alia,

including, but in no way limited to his computers, modems, printers, digital back-up hard

drives and flash-memory devices; case-critical Court transcripts, exhibits, cellular

telephone serial numbers and original telephone equipment packaging, proprietary legal
       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 13 of 19




research and the inchoate instant Complaint draft prepared prior to 4/1/16, and now at

bar.



Consequently, being unable to daily monitor the docket, neither in person, nor

electronically, due to Defendant Attorney Frederick Baer Goldsmith, Esq. [in criminal

conspiracy with Malcolm “Smitty” Goldsmith] having stolen Plaintiff’s laptop computer:

Plaintiff pro se regretfully did not timely even also discover the recent 6/14/17 Order of

Court: apparently Plaintiff’s email account which can provide this Court’s CM/ECF

notifications, is exclusively linked to the portable laptop computer stolen by Defendant

Attorney Frederick Baer Goldsmith, Esq. on 4/1/16 during another false arrest and

imprisonment pursuant to another conspiratorial 302 Warrant pursuant to the

Pennsylvania Mental Health Procedures Act, “MHPA” 50 P.S. § 7101 et seq.; and

remains a critical component of the theft, pillaging and looting within Defendant Attorney

Frederick Baer Goldsmith, Esq.’s sinister scheme, as stated supra, to spoliate any and

all evidence, business records, court transcripts, proprietary legal research and records;

which records, as of this writing, remain exclusively in the possession of Defendant

Attorney Frederick Baer Goldsmith, Esq. – supposedly situate within his garage / war-

rooms / repository / residence at his at 5415 Aylesboro Avenue, Ward 14, in the City of

Pittsburgh, and his law offices / false-filing factory / stolen-property vault, situate on the

5th floor and sequestered throughout the premises of 247 Ft. Pitt Boulevard in the

downtown business district, Ward 1 of Pittsburgh, Commonwealth of Pennsylvania,

within this Western District. This case-critical component of Defendant Attorney
        Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 14 of 19




Frederick Baer Goldsmith, Esq.’s continuing course of conduct, pertaining to evidentiary

and other property – consistent with his regular illegal litigation / “business” practices

and tactics, is now also pending before this Honorable Court; and will be subsequently

addressed in an immediately subsequent requested filing by this Plaintiff, pro per.



Very deferentially, it is firmly believed that a meritorious Civil Rights Complaint such as

this matter now at bar, need not be treated in an overly expedient manner – especially

in light of the numerous defendants, law firms, manifold counsels-of-record, and

assorted paralegals amassed as an armada of adversaries against this sole pro se

Plaintiff.



Justice unnecessarily and hastily extemporized is Justice denied.



Defendant, and his authorized and disclosed agent and Co-Defendant Norma Peters, to

whom her principal, apparently on the advice and counsel of her putative Principal and

Attorney in fact, Frederick Baer Goldsmith, Esq.; has not attempted to file any answer,

nor even any acknowledgement in any manner to Plaintiff’s Civil Rights Complaint filed

August 27, 2016.



In further fact, upon belief, and therefore it is so averred: Defendant Attorney Frederick

Baer Goldsmith, Esq. intentionally conspired with his brother Malcolm “Smitty”
       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 15 of 19




Goldsmith, again utilizing state actors, to illegally remove this Plaintiff (and his Mother)

from his/her residence on 4/1/16 - for the specifically premediated purpose of

outrageously spoliating and pillaging his property – and to intentionally and purposely

prevent Plaintiff’s even filing this Civil Rights Action, now instantly sub judice.



As per this Court’s Standing Orders on Motions Practice, in addition to previously

proactively and prospectively alerting the Court of expected delay of filing due to

Defendant Attorney Frederick Baer Goldsmith, Esq.’s contumacious conduct and bad

faith; Plaintiff pro se has respectfully and successfully contacted City of Pittsburgh

Assistant Solicitor and Opposing Counsel of Record Matthew S. McHale, Esq., and has

received his consent to this Motion.



Defendant Norma Peters, upon the counsel and advice of her Co-Defendant, principal,

co-conspirator, and apparent Attorney in Fact Frederick Baer Goldsmith, Esq., has

patently ignored any response whatsoever of this Complaint sent her in November,

2016 . Defendant Attorney Frederick Baer Goldsmith, Esq., moreover; in a petulant act

of defiance – and clearly implied disrespect to this and all Courts - has literally given

exclusive possession of the keys to Plaintiff’s (and Plaintiff’s Mother’s) residence to his

Co-defendant Norma Peters.



Plaintiff has been unable to contact replacement Counsel for Defendant [now Sergeant]

Togyer.
       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 16 of 19




Counsels for Defendant Attorney Frederick Baer Goldsmith, Esq., Sean O’Connell and

Joshua Guthridge consistently refuse to ever speak to Plaintiff at any time, including

refusing to discuss this Honorable Court’s prior ADR Order.



Plaintiff has respectfully previously proactively, prospectively, timely - and appreciatively

advised this Honorable Court of the necessity and his intention to file this instant Motion

for an Enlargement of time to file his Amended Complaint.



In fairness to all Defendants, Plaintiff respectfully requests that this Court also allows up

to a commensurate sixty (60) days’ time from date of service of Complaint for their

individual Answers to Plaintiff’s Amended Complaint.



Directly due to Defendant Attorney Frederick Baer Goldsmith, Esq.’s vexatious,

egregious, retaliatory and obstructive collateral contemporaneous conduct in the state

courts [in this instance, in the Civil Division], Plaintiff’s bank account has been frozen;

thereby Plaintiff, pro se is presently unable to pay the fee to obtain the transcript of the

4/7/17 Emergency Telephonic Hearing upon Motion – or any transcripts in any [state]

Court; which transcripts Plaintiff believes contains material impeachable testimony

therein by Officer of the State Court and of this Federal District Court - Defendant

Attorney Frederick Baer Goldsmith, Esq. Similarly, Plaintiff pro per is still unable to

presently pay the Court filing fee for a separate pending Civil Rights Complaint which

also names as lynchpin Defendant Attorney Frederick Baer Goldsmith, Esq.
       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 17 of 19




Given Defendant Attorney Frederick Baer Goldsmith, Esq.’s constant and continuing

harassing torrent of retributory and abusive malicious prosecutions either against this

Plaintiff - or his own 87 year old Mother [who paid for all his educational needs,

including all his attendant expenses for his law school] – and such invidious course of

conduct now essentially persisting as an insidious infestation by rogue Defendant

Attorney Frederick Baer Goldsmith, Esq.’s craven, maniacal, vexatious abusive and

malicious prosecutions extruding into each and every division of the Allegheny County

Courts of Common Pleas and the Fifth Judicial District of the Commonwealth of

Pennsylvania: clearly there exists clear and convincing grounds for the inclusion of a

retaliation count in Plaintiff’s Amended Complaint.



Plaintiff asserts that his substantive Constitutional rights [under 42 U.S.C. § 1981] are

being infringed upon by the retaliatory conduct of Defendant Attorney Frederick Baer

Goldsmith, Esq. [and possibly with the knowing participation of his attorneys at Robb

Leonard Mulvihill LLP].



This pro se Petitioner respectfully and deferentially posits that he has raised and

demonstrated a substantial and substantive credible "showing of cause” for a [further]

enlargement of time due to Defendant Attorney Frederick Baer Goldsmith, Esq.’s

despicable collateral State Court proceedings. Please which see: Lujan v. National

Wildlife Federation, 497 US 871, 110 S. Ct. 3177, 111 L. Ed. 2d 695 (1990) at 897.
       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 18 of 19




In the alternative, should this Honorable and Learned Court, in its own wisdom, choose

to view this Petition through the prism of an excusable neglect analysis; this Petitioner

humbly believes, considering Defendant Attorney Frederick Baer Goldsmith, Esq.’s

willful and deliberate contumacious conduct in the first instance; Plaintiff’s absolute

absence of any "flagrant bad faith", and manifest lack of any intentional "callous

disregard" for deadlines, in the second instance; the meritorious Complaint - and for the

reasons elucidated above: he has met his burden hereto; [please which see: e.g.,

National Hockey League v. Metropolitan Hockey Club, Inc., 427 U.S. 639 (1976) at 643,

49 L. Ed. 2d 747, 96 S. Ct. 2778 at 2781; Poulis v. State Farm Fire and Cas. Co., 747 F.

2d 863 (3d Cir.1984).



Plaintiff pro per also asserts, deferentially and respectfully, valid prospective and

arguably sustainable material exceptions to this Learned Court’s dispositive conclusions

in its Order of 5/12/17; as well as numerous material misstatements of facts in

Defendants’ various F.R.C.P. 12(b)(6) Motions to Dismiss. Plaintiff pro se, with

particularity, again asserts the indisputable, inescapable and unassailable kingpin

position of Defendant Attorney Frederick Baer Goldsmith, Esq., as the ad seriatim arch-

architect of his evil conspiracy to both knowingly and purposefully suborn perjury, and to

collude with state actors to deprive this Plaintiff of his bedrock Constitutional guarantees

and his inviolate Civil Rights.
       Case 2:16-cv-01362-MRH Document 54 Filed 07/05/17 Page 19 of 19




Denying this dispositive Motion for an extension would effectively lead to the

contemporaneous and spontaneous fatal extinguishment of all of Plaintiff pro per's

prima facie and meritorious Civil Rights claims.



Both the public interest is furthered, and Public policy promoted by permitting Plaintiff

pro se the necessary requested and absolutely required minimal time interval in which

to properly prepare and to adhere to the heightened pleading requirements of this case-

critical Amended Complaint, especially given the contingent complex contours of this

Court’s Order, which, appreciatively, allows opportunity for a responsive Amended

Complaint - and particularly before this precise and Learned District Court.



WHEREFORE, Plaintiff / Petitioner / Movant pro se, in good faith, and for good cause,

very respectfully requests, and for all the reasons and good causes as set forth, supra:

a necessary sixty (60) - day enlargement of time within which to file the Court Ordered,

and potentially dispositive Amended Complaint – if not perfectly prepared - pursuant to

F.R.C.P. 6(b)(1); as well as the previously Ordered additional time for service of same.




VERY RESPECTFULLY SUBMITTED:



/s/ Kenneth Goldsmith.
_________________________
Movant / Petitioner / Plaintiff, in propria persona.

7/3/2017.
